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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION

JANE DOE,                                        )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )    Case No.: 6:23CV00052
                                                 )
VIRGINIA MILITARY INSTITUTE,                     )
                                                 )
               Defendant.                        )
                                                 )

                  JOINT STIPULATION OF VOLUNTARY DISMISSAL

       NOW COME the parties, by counsel, pursuant to Federal Rule of Civil Procedure 41

(a)(1)(A)(ii) and represent to the Court that the above-referenced matter has settled and that the

matter should be dismissed in its entirety, with prejudice. All costs and expenses relating to this

litigation (including attorney and expert fees and expenses) will be borne by each party.

                                             Respectfully submitted,



                                             s/Olivia S. Moulds
                                                           Of Counsel

Dated: April 1, 2025
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WE ASK FOR THIS:

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